        Case 1:13-cv-03233-JKB Document 223 Filed 11/07/18 Page 1 of 3


                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                             *
O. JOHN BENISEK, et al.,                     *
                                             *
      Plaintiffs,                            *
                                             *
v.                                           *    Case No. 1:13-cv-03233-JKB
                                             *
LINDA H. LAMONE, et al.,                     *
                                             *
      Defendants.                            *
                                             *

COMMON CAUSE; THE BRENNAN CENTER
FOR JUSTICE AT N.Y.U. SCHOOL OF
LAW; THE CAMPAIGN LEGAL CENTER, INC.,

      Amici Supporting Plaintiffs.



                                       JUDGMENT

      For the reasons given in the court's memorandum opinions, the court grants the

plaintiffs' motion for summary judgment and denies the defendants'           cross-motion for

summary judgment.

      After the conclusion of the 2018 congressional election, the defendants (referred to

as the State) are permanently enjoined from conducting any further election for members

of the U.S. House of Representatives      from Maryland under the 2011 congressional

redistricting plan and are directed forthwith to submit to the court a new congressional

redistricting plan that redraws the boundaries of the Sixth Congressional         District to

address the constitutional violations found with respect to that District.    The State shall

do so applying traditional criteria for redistricting -    such as geographic contiguity,
           Case 1:13-cv-03233-JKB Document 223 Filed 11/07/18 Page 2 of 3

compactness, regard for natural boundaries and boundaries of political subdivisions, and

regard for geographic and other communities of interest -     and without considering how

citizens are registered to vote or have voted in the past or to what political party they

belong. In the circumstances of this case, the State might be well advised to establish a

neutral commission to develop a conforming plan. Any new congressional redistricting

plan must be approved by this court before it is actually employed.

        As time is of the essence to have a new plan in place for conducting the 2020

congressional election, this judgment requires the State to submit its new plan for this

court's review before March 7, 2019, at 5:00 p.m. Plaintiffs are required to submit any

objections to the plan, along with their reasons, within 30 days after the State submits its

plan.   The court may deny plaintiffs'      objections and accept the State's proposed

redistricting plan, sustain the objections and modify the proposed plan, or reject the

proposed plan entirely for failing to remedy the constitutional violation. If the court does

so reject the proposed    plan, the court will refer the redistricting      process to the

Commission detailed herein.

        In the event that the State does not submit a plan by the specified deadline or

proposes    a plan that is rejected, the court will give the redistricting       task to a

Congressional District Commission appointed by the court to produce and submit an

appropriate plan by July 8, 2019, for approval by the court.          The Commission shall

consist of (1) United States Magistrate Judge J. Mark Coulson, as chair, (2) a person

designated by the plaintiffs, and (3) a person designated by the State. The parties shall

disclose the identity of their designees, none of whom may be employees of the State or



                                             2
         Case 1:13-cv-03233-JKB Document 223 Filed 11/07/18 Page 3 of 3


the federal government,          to each other and the court by January 7, 2019.'          The

Commission shall then retain a professional map-drawer to assist it. The State shall bear

the costs of the Commission, including those of the map-drawer, as part of the costs in

this action.    The activities of the court-established Congressional District Commission

will cease, and the Commission will be dissolved, upon approval by this court of a new

congressional    redistricting    plan regardless of whether the approved plan was first

submitted by the State or by the Commission.

       Should any party fail to identify a designee to the Commission by January 7, 2019,

the court will appoint one.

       The State shall use the congressional redistricting plan developed in accordance

with this judgment for all elections relating to the 2020 election of members of the U.S.

House of Representatives from Maryland.

       The Clerk shall assess the costs of this action against the State.

       Entered this 7th day of November, 2018.

                                                    Circuit Judge Paul V. Niemeyer

                                                    Chief District Judge James K. Bredar

                                                    District Judge George L. Russell III




                                                    Paul                    the Court


       • It is by design that the court seeks to establish the Commission two months
before the State's deadline for its proposed redistricting plan. Time is of the essence, and
the Commission must be ready to act promptly should the State fail to propose a
conforming redistricting plan by March 7, 2019.



                                                3
